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5 IN THE UNITED STATES DISTRICT COURT
7 WESTERN DISTRICT OF WASHINGTON
8 AT TACOMA
9} UNITED STATES OF AMERICA, ) No. C02-5719R45 (4 Po
| )
LG Plaintiff, ) ORDER
} SATISFYING RESTITUTION
HL Uy. }
. }
12} ROBERT BR. KEPPEL )
)
13 Defendant. )
14 This matter having come before the court upon Defendant's motion, joined by the victim

Microsoft Corporation to issue orders approving the Setement Agreement between Microsoft
16 || and Robert Keppel, and to further Order the amount previously ordered as Restitution paid to
17 | Microsoft be hereby satisfied under the terms and conditions of the Settlement Agreement. The
184 court having reviewed the record herein;

19 IT 18 HEREBY ORDERED that the Settlement Agreement between Microsoft

20 | Corporation and Defendant Keppel shall be approved,

zh IT IS HEREBY FURTHER ORDERED thal the Restitution Judgment of $300,000

 

22 || ordered paid by Keppel to Microsoft Corporation is hereby Satisfied and Defendant shall owe no
23 || further sums as restitution to Microsoft.
ITIS FURTHER ORDERED that the United States shall filed a Judgment of Satisfaction

in accord with these orders.

Page | — ORDER

 

 

 
Case 3:02-cr-05719-RBL...Document 52 Filed 12/18/03 Page 2 of 2

l Dated this_[ eh ny of December 2003.

 
 

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United States District Court Judke

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Page 2-— ORDER

 

 

 

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